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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ATLAS AIR, INC. and SOUTHERN AIR

INC., Civil Action No. 1:19-cv-03223-CRC

Plaintiffs,
v.

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, AIRLINE DIVISION

and

AIRLINE PROFESSIONALS ASSOC. OF
THE INTERNATIONAL BROTHERHOOD
OF TEAMSTERS, LOCAL UNION NO. 1224

and

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS LOCAL 2750,

Defendants.

 

 

DECLARATION OF RACHEL S. JANGER
I, RACHEL S. JANGER, declare and state as follows:

1. I am a senior counsel with the law firm of O’Melveny & Myers LLP
(“O’Melveny”), at its office located at 1625 Eye Street, NW, Washington, D.C. 20006. Iama
member in good standing of the Bars of the District of Columbia and New York and am admitted
to practice before this Court. O’Melveny is counsel to Plaintiffs Atlas Air, Inc. (“Atlas”) and
Southern Air Inc. (“Southern”). I have personal knowledge of the facts set forth below and if
called as a witness in this matter, I could and would competently testify to the below facts.

2. True and correct copies of the certified transcripts of the Southern-IBT System

Board arbitration hearing captioned “Management Grievance: Alleging a Violation of CBA
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Section 1.B.3,” dated October 16, 17, and 18, 2018 (“Southern Management Grievance
Arbitration”) are attached hereto as Exhibits 1, 2, and 3, respectively.

3. True and correct copies of the certified transcripts of the Atlas-IBT System Board
arbitration hearing captioned “Management Grievance Alleging Violation of Section 1.F of the
Atlas Air, Inc.-International Brotherhood Of Teamsters, Airline Division, Local 1224
Crewmembers CBA,” dated October 24, 25, and 26, 2018 (“Atlas Management Grievance
Arbitration”) are attached hereto as Exhibits 4, 5, and 6, respectively.

4, True and correct copies of Southern Management Grievance Arbitration Post-
Hearing Briefs, filed on February 1, 2019 by Southern and the Defendants with Arbitrator Bloch
and the Southern System Board, are attached hereto as Exhibits 7 and 8, respectively.

5. True and correct copies of Atlas Management Grievance Arbitration Post-Hearing
Briefs, filed on March 1, 2019 by Atlas and the Defendants with Arbitrator Nicolau and the Atlas
System Board, are attached hereto as Exhibits 9 and 10, respectively.

6. A true and correct copy of Arbitrator Bloch’s Opinion in the Southern
Management Grievance Arbitration, released June 12, 2019, is attached hereto as Exhibit 11.

7. A true and correct copy of Arbitrator Nicolau’s Opinion and Award in the Atlas
Management Grievance Arbitration, released August 26, 2019, is attached hereto as Exhibit 12.

I declare under penalty of perjury under the laws of the United States that the foregoing
statements are true and correct.

Executed this 31st day of October, 2019 at Washington, D.C.

achel S. Janger
